              Case 2:20-cv-01204-ROS Document 94 Filed 09/06/22 Page 1 of 3


 1   YUMA CITY ATTORNEY’S OFFICE
     Richard W. Files - City Attorney
 2

 3
     K. Scott McCoy, Assistant City Attorney
     Arizona Bar No. 019536
 4   Rodney C. Short, Deputy City Attorney
     Arizona Bar No. 026104
 5   One City Plaza
     Yuma, Arizona 85364
 6   Telephone: (928) 373-5050
     E-mail: Scott.McCoy@yumaaz.gov
 7            Rodney.Short@yumaaz.gov
 8   BEST BEST & KRIEGER LLP
     Lisa A. Bell (admitted pro hac vice)
 9   1800 K Street, NW, Suite 725
     Washington, District of Columbia 20006
10   Telephone: (202) 785-0600
     Facsimile: (202) 785-1234
11
     E-mail: lisa.bell@bbklaw.com
12
     Attorneys for Defendant City of Yuma, Arizona
13
                         IN THE UNITED STATES DISTRICT COURT
14
                                FOR THE DISTRICT OF ARIZONA
15
     Spectrum Pacific West, LLC,                       Case No.: 2:20-CV-01204-DWL
16
                       Plaintiff,                      DEFENDANT/COUNTERCLAIMANT
17   v.                                                CITY OF YUMA’S DEMAND FOR
                                                       JURY TRIAL
18   City of Yuma, Arizona,
19                      Defendant.
20
     City of Yuma, Arizona,
21
                       Counterclaimant,
22
     v.
23
     Spectrum Pacific West, LLC,
24
                        Counter Defendant.
25

26          Pursuant    to     Rule   38,   of   the    Federal   Rules   of   Civil   Procedure,
27   Defendant/Counterclaimant City of Yuma, Arizona (“Yuma”), by and through
28   undersigned counsel, hereby demands a trial by jury in the above-captioned action of all
29   issues triable by jury.
30
            RESPECTFULLY SUBMITTED this 6th day of September, 2022.


                                                   1
     Case 2:20-cv-01204-ROS Document 94 Filed 09/06/22 Page 2 of 3


 1                                 BEST BEST & KRIEGER LLP
 2

 3                                 By:
 4                                       Lisa A. Bell
                                         Attorney for Defendant City of Yuma,
 5                                       Arizona
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

29

30




                                   2
             Case 2:20-cv-01204-ROS Document 94 Filed 09/06/22 Page 3 of 3


 1                                CERTIFICATE OF SERVICE
 2
           I hereby certify that on the 6th day of September, 2022, I electronically filed the
 3
     foregoing DEFENDANT/COUNTERCLAIMANT CITY OF YUMA’S DEMAND
 4
     FOR JURY TRIAL with the Clerk’s office using the CM/ECF System for filing and
 5
     transmittal of a Notice of Electronic Filing to all ECF registrants in the case, including
 6

 7
     counsel of record:

 8
     C. Bradley Vynalek
 9   Lauren Elliot Stine
     Quarles & Brady LLP
10   Renaissance One, Two N. Central
     Phoenix, AZ 85004
11   brad.vynalek@quarles.com
     lauren.stine@quarles.com
12
     Paul Werner
13   Imad Matini
14
     Sheppard, Mulling, Richter & Hampton LLP
     2099 Pennsylvania Avenue, NW Suite 100
15
     Washington, D.C. 20006
     pwerner@sheppardmullin.com
16   imatini@sheppardmullin.com

17   Attorneys for Plaintiff
     Spectrum Pacific West, LLC
18

19

20                                                   Lisa A. Bell
21

22

23

24

25

26

27

28

29

30




                                                 3
